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 6
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10                               UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                        OAKLAND DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                )   MDL NO. 1917
14   ANTITRUST LITIGATION                        )
                                                 )   Case No. 07-cv-5944-JST
15                                               )
     This Document Relates to:                   )   DECLARATION OF MARIO N. ALIOTO
16                                               )   IN SUPPORT OF INDIRECT
     Indirect Purchaser Class Action             )   PURCHASER PLAINTIFFS’
17
                                                 )   ADMINISTRATIVE MOTION FOR
18                                               )   PERMISSION TO (1) DISTRIBUTE
                                                 )   RESERVE FUND TO CLAIMANTS AND
19                                               )   (2) PAY THE SETTLEMENT
                                                 )   ADMINISTRATOR’S INVOICES
20                                               )
                                                 )
21
                                                 )   The Honorable Jon S. Tigar
22                                               )

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      DECL. OF MARIO N. ALIOTO ISO INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION
         FOR PERMISSION TO (1) DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE
             SETTLEMENT ADMINISTRATOR’S INVOICES MDL No. 1917; Case No. 07-cv-5944-JST
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 1          I, Mario N. Alioto, declare as follows:

 2          1.      I am an attorney duly licensed by the State of California and am admitted to practice

 3   before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott, LLP and my

 4   firm serves as the Court-appointed Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) in

 5   the above-captioned action. I submit this Declaration in support of the Indirect Purchaser

 6   Plaintiffs’ (“IPPs”) Administrative Motion for Permission to (1) Distribute Reserve Fund to

 7   Claimants; and (2) Pay the Settlement Administrator’s Invoices. I have personal knowledge of the

 8   matters stated herein and could and would testify thereto if called upon as a witness.

 9          2.      Pursuant to this Court’s Order Granting Motion for Order Authorizing Distribution

10   of Settlement Funds, filed July 29, 2022, ECF No. 6040 (“Distribution Order”) ¶ 14, the

11   $10,000,000 reserve account was established and managed by the Settlement Administrator, who

12   disbursed funds when and as directed by me or members of my firm.

13          3.      Since the establishment of the reserve account, the Settlement Administrator has

14   provided regular accountings of the account to me.

15          4.      I instructed the Settlement Administrator to disburse funds from the reserve account

16   to pay 2022 taxes, 2023 estimated taxes, accounting fees, and escrow fees for the Qualified

17   Settlement Fund (“QSF”).

18          5.      The total amount in the reserve account as of January 31, 2024, net of

19   disbursements and including interest, was $9,461,749.11. Interest continues to accrue.

20          6.      I have worked with a CPA to calculate the estimated future taxes and fees to be

21   paid from the QSF for filing the 2023 and 2024 tax returns, paying any additional 2023 taxes, and

22   paying the 2024 taxes. The CPA has advised that we continue to reserve $105,000 of the reserve

23   account funds to pay additional 2023 taxes and the accounting fees associated with filing the 2023

24   tax returns for the QSF. The remaining amount in the reserve account will be available to be

25   immediately distributed to the claimants from which it was withheld.

26          7.      As for 2024 taxes and fees, the CPA has advised that we reserve the interest accrued

27   or to be accrued in 2024 on the reserve account funds and other QSF monies (e.g., the residual to

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      DECL. OF MARIO N. ALIOTO ISO INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION
         FOR PERMISSION TO (1) DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE
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            Case 4:07-cv-05944-JST Document 6361-1 Filed 02/26/24 Page 3 of 3




 1   be distributed to late claimants pursuant to Distribution Order ¶ 8e.) to pay these 2024 taxes, the

 2   accounting fees associated therewith, and any other expenses incurred by the QSF.

 3          8.      I have reviewed the Settlement Administrator’s invoices and believe that the fees

 4   and expenses incurred were necessary and reasonably incurred in administering the Settlements

 5   and distributing the settlement funds to claimants, especially considering the large number of

 6   claimants and the significant number of issues relating to address changes, returned checks, and

 7   reissuing of checks that the Settlement Administrator had to work through.

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 9          I declare under penalty of perjury that the foregoing is true and correct. Executed this 26th

10   day of February 2024 at San Francisco, California.

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12                                                  /s/ Mario N. Alioto

13                                                Lead Counsel for Indirect Purchaser Plaintiffs
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      DECL. OF MARIO N. ALIOTO ISO INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION
         FOR PERMISSION TO (1) DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE
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